 Case 2:09-cr-00091   Document 134    Filed 12/09/11   Page 1 of 4 PageID #: 499



                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:09-00091-02

TONI BROWN


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On December 1, 2011, the United States of America

appeared by Meredith R. George, Assistant United States

Attorney, and the defendant, Toni Brown, appeared in person and

by her counsel, Christian M. Capece, Assistant Federal Public

Defender, for a hearing on the petition on supervised release

and amendment thereto submitted by United States Probation

Officer Troy A. Lanham, the defendant having commenced a three-

year term of supervised release in this action on September 12,

2011, as more fully set forth in the Probation Revocation and

Judgment order entered by the court on September 6, 2011.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
 Case 2:09-cr-00091   Document 134   Filed 12/09/11   Page 2 of 4 PageID #: 500



           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant used and possessed methylenedioxypyrovalerone “MDPV”,

commonly referred to as bath salts, as evidenced by a positive

urine specimen submitted by her on September 20, 2011, and her

admission to the probation officer on October 17, 2011; (2) that

the defendant violated the special condition that she spend six

months at Transitions, Inc. inasmuch as she was terminated from

the program on October 14, 2011, after violating the rules and

regulations of the facility, including using an illegal

substance, bath salts; and (3) that the defendant used and

possessed cocaine as evidenced by a positive urine specimen

submitted by her on November 3, 2011, and her subsequent

admission to the probation officer; all as admitted by the

defendant on the record of the hearing and as set forth in the

petition and amendment on supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate
 Case 2:09-cr-00091   Document 134   Filed 12/09/11   Page 3 of 4 PageID #: 501



the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, on the basis of the original offense,

the intervening conduct of the defendant and after considering

the factors set forth in 18 U.S.C. § 3553(a), that the defendant

is in need of correctional treatment which can most effectively

be provided if she is confined, it is accordingly ORDERED that

the defendant be, and she hereby is, committed to the custody of

the United States Bureau of Prisons for imprisonment for a

period of SIX (6) MONTHS, to be followed by a term twenty-four

(24) months of supervised release upon the standard conditions

of supervised release now in effect in this district by order

entered June 22, 2007, and the further condition that the

defendant not commit another federal, state or local crime and

the special condition that she spend six months in a community

confinement center deemed most appropriate to meet her needs as

will be directed by the probation officer and participate in the
 Case 2:09-cr-00091   Document 134   Filed 12/09/11    Page 4 of 4 PageID #: 502



most intensive drug abuse counseling and treatment program

available at the center, and make herself available for further

drug abuse counseling and treatment as directed by the probation

officer.


           The defendant was remanded to the custody of the

United States Marshal.


           Recommendation:     The court recommends that the

defendant be designated to FCI Alderson.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:       December 9, 2011


                                        John T. Copenhaver, Jr.
                                        United States District Judge
